688 F.2d 991
    James H. CORDER, and Harry W. Western on behalf ofthemselves and all others similarly situated,Plaintiffs-Appellants,v.Robert H. KIRKSEY, individually and as Probate Judge ofPickens County, et al., Defendants-Appellees.
    No. 76-3601.
    United States Court of Appeals,Fifth Circuit.*
    Oct. 12, 1982.
    
      Edward Still, Birmingham, Ala., Neil Bradley, Atlanta, Ga., for plaintiffs-appellants.
      W. O. Kirk, Jr., Carrollton, Ala., Martin Ray, Tuscaloosa, Ala., for defendants-appellees.
      Appeal from the United States District Court for the Northern District of Alabama, Frank H. McFadden, Judge.
      ON PETITION FOR REHEARING AND PETITION FOR REHEARING EN BANC
      (Opinion March 16, 1981, 5th Cir., 1981, 639 F.2d 1191.)
      Before TJOFLAT, HILL and FAY, Circuit Judges.
      PER CURIAM:
    
    
      1
      We issued an opinion in this case on March 16, 1981.  The mandate was then withheld pending the Supreme Court's consideration of Rogers v. Lodge, --- U.S. ----, 102 S.Ct. 3272, 73 L.Ed.2d 1012 (1982), as was action on petitions for rehearing and rehearing en banc.  We have now concluded that the Supreme Court's decision in Rogers v. Lodge does not affect our analysis or disposition of this case.  Therefore, the mandate in Corder v. Kirksey, 639 F.2d 1191 (5th Cir. 1981), shall issue forthwith.
    
    
      2
      The Petition for Rehearing is DENIED and no member of this panel nor Judge in regular active service on the Court having requested that the Court be polled on rehearing en banc (Rule 35, Federal Rules of Appellate Procedure; Local Fifth Circuit Rule 16), the Petition for Rehearing En Banc is DENIED.
    
    
      
        *
         Former Fifth Circuit Case, Section 9(1) of Public Law 96-452-October 14, 1980
      
    
    